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1                               UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                     )
                                                   )
5
                         Plaintiff,                )   Case No.: 2:11-cr-00442-GMN-GWF-1
6          vs.                                     )
                                                   )    ORDER Re: Defendant’s Motion to
7    ERIC TYRONE JACKSON,                          )   Designate that Federal Sentence Begins
                                                   )   When Defendant is Incarcerated in State
8
                         Defendant.                )          Facility (ECF No. 210)
9                                                  )

10         Before the Court is Defendant’s Motion to Designate that Federal Sentence Begins When
11   Defendant is Incarcerated in State Facility (ECF No. 210), and the Government’s Response to
12   Defendant’s Motion (ECF No. 213). Defendant did not file a Reply.
13         Defendant’s counsel has failed to cite any legal basis why Defendant’s Motion should be
14   granted. Accordingly,
15         IT IS HEREBY ORDERED that Defendant’s Motion to Designate that Federal
16   Sentence Begins When Defendant is Incarcerated in State Facility (ECF No. 210) is hereby
17   DENIED without prejudice.
18         DATED this 7th day of April, 2014.
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20                                              ________________________________
                                                Gloria M. Navarro, Chief Judge
21
                                                United States District Court
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